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IN THE UNITED STATES DlSTRlCT COURT
SOUTHERN DlSTRlCT OF lLl_lNOlS

DAWNE MlLLER,
Plaintiff Case No. 3:16-cv-315

v. ]URY TR|AL REQUESTED

Removed from Circuit Court of

St. Clair County, illinois
NO.: 16-L-111

vaL-MART sToREs, lNc., d/b/a
sAM's cLuB,

Defendant.
NOT|CE OF REMOVAL

COME NOW Defendant, Wal-Mart Stores, lnc., d/b/a Sam’s Club, by and through
its counsel, BETH C. BOGGS and BOGGS, AVELLlNO, LACH & BOGGS, L.L.C., pursuant
to 28 U.S.C. § 1441 and 28 U.S.C. § 1446, and for its Notice of Removal, states to the
Court as follows:

1. This action entitled Dawne M/'//er v. Wa/-Ma/t Stores, /nc., d/b/a Sam’s C/ub.
was commenced in the Circuit Court for the County of St. Clair, Twentieth judicial Circuit,
State of |llinois, on or about February 23, 2016.

2. The attached Complaint Was served upon Defendant on February 29, 2016.

3. Upon information and belief, Defendant states that Plaintiff is a resident of
Fairview Heights, |llinois, in St. Clair County, lllinois and is a citizen and resident of the
State of lllinois.

4. Defendant, Wal-Mart Stores, lnc. is a Delaware corporation, having its
principal place of business in the State of Arl<ansas. Thus, for purposes of diversity

jurisdiction, Defendant is a citizen and resident of both Delaware and Arl<ansas.
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5. Defendant asserts that complete diversity exists, as Defendant is a citizen and
resident of the State of Delaware and the State of Arl<ansas for purposes of federal
jurisdiction. See 28 U.S.C. § 1332(€)(1).

6. This is an action over which this Court has original jurisdiction under the
provisions of 28 U.S.C. § 1335, in that the matter in controversy, exclusive of interest and
costs, exceeds the sum of Seventy-Five Thousand Dollars ($75,000.00) and is between
citizens of different states. The Plaintiff claims injury from a slip and fall and claims that
she has suffered injury in excess of Fifty Thousand Dollars ($50,000.00). The nature of her
injuries is not laid out in the Complaint. See Plaintiff’s Complaint, Paragraph 9.

7. Defendant has received documentation of medical bills, which were
allegedly incurred as a result of this incident, in the amount of $174,792.28. The Plaintiff
has had surgery, including a right elbow, open lateral epicondyle release and a right elbow
partial osteotomy of the lateral epicondyle. The Plaintiff has also allegedly sustained
injuries to her wrist and back. The back injuries have allegedly resulted in injections.

8. Copies of all processes, pleadings, orders, records, and proceedings in St.
Clair County are attached to this Notice of Removal.

9. Defendant has filed this Notice of Removal within 30 days after the service
of the Complaint from which it was first ascertained that this case was removable

WHEREFORE, Defendant, Wal-Mart Stores, lnc. respectfully requests that this Court
acknowledge jurisdiction over this action, and allow removal thereto to this Court for

determination of all issues involved herein.

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Respectfully submitted,

WAL-MART STORES, iNC., D/B/A SAM’S
CLUB

/s/ Beth C. Boggs

Beth C. Boggs, #06208313

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Az‘torneys for Defendanz‘

CERT|F|CATE OF SERV|CE

The undersigned hereby certifies that a true and correct copy of the foregoing
document was electronically filed via the Court’s CM/ECF filing system for the United
States District Court for the Southern District of illinois and electronically forwarded this
_2__3_:‘§ day of Marchl 2016, to:

Thomas G. I\/iaag, #6272640
Maag i_aw Firm, LLC

22 West Lorena Avenue
Wood River, iL 62095
Phone (618) 216~5291
Attorney for Plaintiff

/s/ Beth C. Boggs

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